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                                                        - 702 -
                                  Nebraska Supreme Court A dvance Sheets
                                          302 Nebraska R eports
                                             STATE v. STUBBENDIECK
                                                Cite as 302 Neb. 702



                                        State of Nebraska, appellee, v.
                                          M atthew J. Stubbendieck,
                                                  appellant.
                                                   ___ N.W.2d ___

                                         Filed March 29, 2019.    No. S-18-600.

                 1. Convictions: Evidence: Appeal and Error. Regardless of whether
                    the evidence is direct, circumstantial, or a combination thereof, and
                    regardless of whether the issue is labeled as a failure to direct a verdict,
                    insufficiency of the evidence, or failure to prove a prima facie case, the
                    standard is the same: In reviewing a criminal conviction, an appellate
                    court does not resolve conflicts in the evidence, pass on the credibility
                    of witnesses, or reweigh the evidence; such matters are for the finder
                    of fact, and a conviction will be affirmed, in the absence of prejudicial
                    error, if the evidence admitted at trial, viewed and construed most favor-
                    ably to the State, is sufficient to support the conviction.
                 2. Criminal Law: Convictions: Evidence: Appeal and Error. When
                    reviewing a criminal conviction for sufficiency of the evidence to
                    sustain the conviction, the relevant question for an appellate court is
                    whether, after viewing the evidence in the light most favorable to the
                    prosecution, any rational trier of fact could have found the essential ele-
                    ments of the crime beyond a reasonable doubt.
                 3. Rules of Evidence: Appeal and Error. Where the Nebraska Evidence
                    Rules commit the evidentiary question at issue to the discretion of the
                    trial court, an appellate court reviews the admissibility of evidence for
                    an abuse of discretion.
                 4. Trial: Rules of Evidence. A trial court exercises its discretion in deter-
                    mining whether evidence is relevant and whether its prejudicial effect
                    substantially outweighs its probative value.
                 5. Judgments: Words and Phrases. An abuse of discretion occurs when a
                    trial court’s decision is based upon reasons that are untenable or unrea-
                    sonable or if its action is clearly against justice or conscience, reason,
                    and evidence.
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             Nebraska Supreme Court A dvance Sheets
                     302 Nebraska R eports
                          STATE v. STUBBENDIECK
                             Cite as 302 Neb. 702
 6. Rules of Evidence. An analysis under Neb. Rev. Stat. § 27-403 (Reissue
    2016) consists of a balancing test, which is in large part left to the sound
    discretion of the trial court, absent an abuse of discretion.
 7. ____. The “relevancy-versus-unfairly-prejudicial-effect-balancing” test
    seeks to weigh the probative value of the proffered evidence against the
    nonprobative factors listed in Neb. Rev. Stat. § 27-403 (Reissue 2016).
 8. Evidence: Words and Phrases. Probative value is a relative concept
    involving a measurement of the degree to which the evidence persuades
    the trier of fact that the particular fact exists and the distance of the
    particular fact from the ultimate issue of the case.
 9. Rules of Evidence: Appeal and Error. Most, if not all, items which
    one party to an action offers in evidence are calculated to be prejudicial
    to the opposing party; therefore, it is only unfair prejudice with which
    an appellate court is concerned.
10. Rules of Evidence: Words and Phrases. “Unfair prejudice,” in the
    context of Neb. Rev. Stat. § 27-403 (Reissue 2016), means a tendency
    to suggest a decision on an improper basis.
11. Criminal Law: Evidence. A defendant cannot negate an exhibit’s pro-
    bative value through a tactical decision to stipulate.
12. Aiding and Abetting: Proof. Aiding and abetting requires some partici-
    pation in a criminal act which must be evidenced by word, act, or deed,
    and mere encouragement or assistance is sufficient to make one an aider
    or abettor. No particular acts are necessary, however, nor is it necessary
    that the defendant take physical part in the commission of the crime or
    that there was an express agreement to commit the crime.
13. ____: ____. Evidence of mere presence, acquiescence, or silence is not
    enough to sustain the State’s burden of proving guilt under an aiding and
    abetting theory.
14. Criminal Law. The corpus delicti may be proved by circumstantial
    evidence.
15. Circumstantial Evidence: Words and Phrases. Circumstantial evi-
    dence is evidence which, without going directly to prove the existence
    of a fact, gives rise to a logical inference that such fact exists.
16. Criminal Law: Evidence: Confessions: Proof. An extrajudicial admis-
    sion or a voluntary confession is, standing alone, insufficient to prove
    that a crime has been committed, but either or both are competent
    evidence of the fact and may, with corroborative evidence of facts and
    circumstances, establish the corpus delicti and guilty participation of
    the defendant.

  Appeal from the District Court for Cass County: Michael A.
Smith, Judge. Affirmed.
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              Nebraska Supreme Court A dvance Sheets
                      302 Nebraska R eports
                          STATE v. STUBBENDIECK
                             Cite as 302 Neb. 702
  Julie E. Bear, Deputy Cass County Public Defender, for
appellant.

  Douglas J. Peterson, Attorney General, and Kimberly A.
Klein for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

    Heavican, C.J.
                      I. INTRODUCTION
   Matthew J. Stubbendieck was convicted of the crime of
assisting suicide,1 a Class IV felony, in regard to the death of
Alicia Wilemon-Sullivan (Sullivan). Stubbendieck was sen-
tenced to a term of probation. He appeals his conviction on
various evidentiary grounds. We affirm.

                       II. BACKGROUND
   On August 5, 2017, deputies from the Cass County Sheriff’s
Department were dispatched to an address in Weeping Water,
Cass County, Nebraska, in response to a report of a suicide.
   Upon arrival, deputies spoke to Stubbendieck, who reported
that his girlfriend, Sullivan, had killed herself days prior. After
being interviewed for more than an hour, Stubbendieck led
deputies to Sullivan’s body. The body was located in a densely
wooded area of private land that once operated as a rock
quarry.
   Upon examination, it was determined that Sullivan’s body
was in the early stages of decomposition. Despite the stage
of decomposition to the body, deputies noted injuries to both
of Sullivan’s wrists and further observed a knife located
under Sullivan’s left hand. In the immediate area surrounding
Sullivan’s body, deputies located two water bottles (one con-
taining an unknown dark liquid), a potato chip can, a purse, a

1
    Neb. Rev. Stat. § 28-307 (Reissue 2016).
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          Nebraska Supreme Court A dvance Sheets
                  302 Nebraska R eports
                    STATE v. STUBBENDIECK
                       Cite as 302 Neb. 702
pair of sandals, and boxer briefs. The boxer briefs were later
identified as belonging to Stubbendieck.
   During the course of the investigation, Stubbendieck told
investigators that he believed Sullivan was suffering from
“Stage IV cancer.” Stubbendieck indicated that Sullivan
“hated” hospitals, but had been convinced by friends to undergo
radiation treatments in Jacksonville, Florida. According to
Stubbendieck, Sullivan terminated radiation therapy after only
5 weeks because her condition had not improved.
   Investigators employed “Cellebrite,” a technology used to
conduct cell phone information extraction, and recovered from
Stubbendieck’s cell phone numerous text messages between
Sullivan and Stubbendieck in the weeks leading up to Sullivan’s
death. In those text messages, Sullivan represents herself as
being hospitalized, in pain, dying, and not able to live any
longer.
   Text messages from Sullivan’s cell phone show a persistent
state of suicidal ideation, evidenced by Sullivan’s repeated
threats of self-harm. Throughout the course of the lengthy text
message transcript, it is clear that Stubbendieck and Sullivan
developed a plan in which Sullivan would travel by plane
from Florida to Nebraska in order to marry Stubbendieck,
and then “go out in [Stubbendieck’s] arms as [his] wife,” a
reference to a prearranged plan in which Sullivan would end
her life.
   Stubbendieck subsequently enlisted the assistance of his
mother to purchase a one-way airline ticket to bring Sullivan
to Nebraska. Prior to Sullivan’s arrival, Stubbendieck set
out in search of narcotics in order to assist Sullivan in com-
mitting suicide. According to Christine Timbs, a romantic
acquaintance of Stubbendieck’s, Stubbendieck asked Timbs
if she could acquire heroin or morphine in order to make
Sullivan more comfortable. A coworker of Stubbendieck testi-
fied that Stubbendieck had indicated that he had four doses
of liquid morphine for Sullivan to take. Yet another coworker
testified that Stubbendieck had told him that he planned to
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                     STATE v. STUBBENDIECK
                        Cite as 302 Neb. 702
“[s]hoot her [Sullivan] up with morphine” in order to “put her
to sleep.”
   Sullivan arrived in Nebraska on July 31, 2017. The day fol-
lowing Sullivan’s arrival, Sullivan was reportedly observed
taking an unknown quantity and type of pill two to three times
throughout the morning. Stubbendieck indicated that he took
Sullivan to a remote area of Weeping Water, locally referred
to as “Acapulco Lake.” According to Stubbendieck, once at
the lake, the two went swimming and had intercourse before
Sullivan retrieved a knife and began cutting her wrists.
   Stubbendieck indicated that the two remained in the remote
area for approximately 8 hours. Stubbendieck admitted that
during that time, on two occasions, he attempted to assist
Sullivan by covering her nose and mouth in order to suffocate
her. Stubbendieck told investigators that Sullivan was alive and
conversing with him when he left her 71⁄2 hours after arriving
at the location.
   After Stubbendieck led deputies to Sullivan’s body, an inves-
tigation ensued that included the recovery of text messages,
interviews with witnesses to whom Stubbendieck had confided,
and an autopsy of Sullivan. Stubbendieck was arrested by Cass
County Sheriff’s Department investigators and subsequently
charged with assisting suicide.
   At trial, the State presented evidence in the form of text
messages between Sullivan and Stubbendieck, which indi-
cated Sullivan’s desire to end her life and the ensuing plan to
arrange for Sullivan’s travel to Nebraska. In addition to text
message conversations between Sullivan and Stubbendieck, the
State offered, over a motion in limine and a continuing objec-
tion of defense counsel at trial, text conversations between
Stubbendieck and Timbs. These text messages were offered in
order to show both Stubbendieck’s motive and plan. The State
further provided testimony from Dr. Michelle Elieff, a forensic
pathologist who performed Sullivan’s autopsy. That testimony
was also contested by way of a motion in limine and a continu-
ing objection of defense counsel at trial.
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                      STATE v. STUBBENDIECK
                         Cite as 302 Neb. 702
   Elieff testified that Sullivan’s body was in a state of moder-
ate decomposition, but that other than the cuts to Sullivan’s
wrists, the examination did not reveal any signs of traumatic
injury, natural disease, or illness. Elieff, however, testified that
the toxicology report indicated Sullivan had morphine in her
liver measuring 876 nanograms per gram of tissue, an amount
that Elieff testified was within the range of some fatal cases.
Elieff indicated further testing revealed that Sullivan also had
Tylenol, Benadryl, and alcohol in her system. Elieff testified
that the cause of death was “undetermined.” She stated that
based on the circumstances surrounding Sullivan’s death, the
investigative information, and the condition of the body, “there
were certain things that could not be excluded as causing or
contributing factors.”
   Specifically, Elieff’s official report, accepted in evidence,
indicated that “[b]ased on the autopsy findings and ancil-
lary tests, contributing factors such as asphyxia (smothering),
drugs, and the environment (hypothermia) cannot be entirely
excluded.”
   Following a jury trial, Stubbendieck was found guilty of
assisting suicide and subsequently sentenced to a term of pro-
bation. Stubbendieck appeals.
               III. ASSIGNMENTS OF ERROR
   Stubbendieck assigns, consolidated and restated, that (1)
the district court erred in admitting certain testimonial evi-
dence and text messages that were irrelevant and unfairly
prejudicial and (2) there was insufficient evidence to support
the conviction.
                 IV. STANDARD OF REVIEW
   [1] Regardless of whether the evidence is direct, circumstan-
tial, or a combination thereof, and regardless of whether the
issue is labeled as a failure to direct a verdict, insufficiency of
the evidence, or failure to prove a prima facie case, the stan-
dard is the same: In reviewing a criminal conviction, an appel-
late court does not resolve conflicts in the evidence, pass on
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              Nebraska Supreme Court A dvance Sheets
                      302 Nebraska R eports
                         STATE v. STUBBENDIECK
                            Cite as 302 Neb. 702
the credibility of witnesses, or reweigh the evidence; such mat-
ters are for the finder of fact, and a conviction will be affirmed,
in the absence of prejudicial error, if the evidence admitted at
trial, viewed and construed most favorably to the State, is suf-
ficient to support the conviction.2
   [2] When reviewing a criminal conviction for sufficiency of
the evidence to sustain the conviction, the relevant question
for an appellate court is whether, after viewing the evidence in
the light most favorable to the prosecution, any rational trier
of fact could have found the essential elements of the crime
beyond a reasonable doubt.3
   [3-5] Where the Nebraska Evidence Rules commit the evi-
dentiary question at issue to the discretion of the trial court, we
review the admissibility of evidence for an abuse of discretion.4
A trial court exercises its discretion in determining whether
evidence is relevant and whether its prejudicial effect substan-
tially outweighs its probative value.5 An abuse of discretion
occurs when a trial court’s decision is based upon reasons that
are untenable or unreasonable or if its action is clearly against
justice or conscience, reason, and evidence.6

                          V. ANALYSIS
            1. A dmissibility and Unfair Prejudice
                    (a) Testimony of Elieff
   Stubbendieck assigns that the district court erred in allowing
the testimony of Elieff, the forensic pathologist who performed
Sullivan’s autopsy. Stubbendieck’s argument is grounded in his
contention that Elieff was not able to opine as to the cause of
Sullivan’s death, thus rendering Elieff’s testimony irrelevant

2
    State v. White, 272 Neb. 421, 722 N.W.2d 343 (2006).
3
    State v. Juranek, 287 Neb. 846, 844 N.W.2d 791 (2014).
4
    State v. Henderson, 289 Neb. 271, 854 N.W.2d 616 (2014).
5
    State v. Bauldwin, 283 Neb. 678, 811 N.W.2d 267 (2012).
6
    See State v. Henderson, supra note 4.
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               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                           STATE v. STUBBENDIECK
                              Cite as 302 Neb. 702
and prejudicial. As such, Stubbendieck contends that under
Neb. Rev. Stat. § 27-402 (Reissue 2016), Elieff’s testimony
is inadmissible. While Stubbendieck does not explicitly point
to Neb. Rev. Stat. § 27-403 (Reissue 2016), he does claim
that Elieff’s testimony was “highly prejudicial,”7 and further
indicates that he fears the testimony resulted in a “danger of
unfair prejudice,”8 which leads us to review Stubbendieck’s
claim of prejudice under a § 27-403 analysis in addition to our
§ 27-402 analysis.
   First, we turn to Stubbendieck’s claim that Elieff’s testi-
mony was irrelevant. Under § 27-402:
         All relevant evidence is admissible except as other-
      wise provided by the Constitution of the United States
      or the State of Nebraska, by Act of Congress or of the
      Legislature of the State of Nebraska, by these rules,
      or by other rules adopted by the Supreme Court of
      Nebraska which are not in conflict with laws govern-
      ing such matters. Evidence which is not relevant is not
      admissible.
Here, the district court noted that the testimony regarding
Sullivan’s autopsy was relevant. Specifically, the court stated
that “the charge as described in statute includes aiding and
abetting a suicide- a definition which includes affirmative
acts allegedly done by a defendant that result in the death
of another.” Having made the determination that Elieff’s tes-
timony would likely provide information as to affirmative
acts that brought about Sullivan’s death, the court overruled
Stubbendieck’s objections.
   In light of evidence presented at trial with regard to
Stubbendieck’s attempts to procure morphine in order to aid
Sullivan in committing suicide, the factual testimony of Elieff
regarding the presence of morphine or other substances in
Sullivan’s system cannot be said to be irrelevant. Nor can

7
    Brief for appellant at 17.
8
    Id.
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              Nebraska Supreme Court A dvance Sheets
                      302 Nebraska R eports
                         STATE v. STUBBENDIECK
                            Cite as 302 Neb. 702
the testimony regarding the overall findings of the autopsy
be seen as irrelevant, as the findings provide factual informa-
tion regarding the state of the body and any evidence or lack
of evidence. This information can be useful to the trier of
fact in determining whether a suicide did in fact occur and
to what extent the defendant aided the deceased party under
the circumstances.
   We next turn to Stubbendieck’s argument under § 27-403
concerning the prejudicial effect of the court’s decision to
admit Elieff’s testimony and autopsy findings. Under § 27-403,
“[a]lthough relevant, evidence may be excluded if its proba-
tive value is substantially outweighed by the danger of unfair
prejudice, confusion of the issues, or misleading the jury, or
by considerations of undue delay, waste of time, or needless
presentation of cumulative evidence.”
   With regard to § 27-403, Stubbendieck contends that the
relevancy of Elieff’s testimony and results of the autopsy are
outweighed by the danger of unfair prejudice and the risk
that the testimony misled the jury. Specifically, Stubbendieck
argues that Elieff’s testimony left the jury to speculate as to
the cause of Sullivan’s death: whether it was due to asphyxi-
ation, the cuts to Sullivan’s wrists, the ingestion of a lethal
dose of morphine, or hypothermia. Therefore, Stubbendieck
appears to suggest that the jury was left with only the option
to convict Stubbendieck of assisting suicide, supported by evi-
dence suggesting a more nefarious act with which he had not
been charged.
   [6,7] An analysis under § 27-403 consists of a balancing
test, which is in large part left to the sound discretion of the
trial court, absent an abuse of discretion.9 The “relevancy-­
versus-unfairly-prejudicial-effect-balancing” test seeks to
weigh the probative value of the proffered evidence against
the nonprobative factors listed in § 27-403.10

 9
     See R. Collin Mangrum, Mangrum on Nebraska Evidence 209 (2018).
10
     See id. at 212.
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               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                           STATE v. STUBBENDIECK
                              Cite as 302 Neb. 702
   [8] First, the court weighs the probative value of the prof-
fered testimony, a relative concept involving a measurement of
the degree to which the evidence persuades the trier of fact that
the particular fact exists and the distance of the particular fact
from the ultimate issue of the case.11 The next step requires
that the court weigh the probative value against the unfairly
prejudicial effects listed in § 27-403. Only if the probative
value is substantially outweighed by the prejudicial effect may
the court exclude the evidence.
   In light of the balancing test described above, Stubbendieck’s
argument discounts the fact that while the cause and manner of
death were found to be undetermined by Elieff, the autopsy
presented relevant probative evidence that was germane to
the crime of assisting suicide with which Stubbendieck was
charged. In his motion in limine, Stubbendieck sought to
stipulate to the cause of Sullivan’s death by stating that he “is
willing to stipulate that the cause of death for . . . Sullivan
is suicide.”
   Despite Stubbendieck’s tactical trial strategy to prevent the
introduction of evidence, the factual evidence contained in the
autopsy and testified to at trial was directly connected to the
elements charged. As noted by Justice Souter in Old Chief v.
United States12:
      Evidence . . . has force beyond any linear scheme of
      reasoning, and as its pieces come together a narra-
      tive gains momentum, with power not only to support
      conclusions but to sustain the willingness of jurors to
      draw the inferences, whatever they may be, necessary
      to reach an honest verdict. This persuasive power of the
      concrete and particular is often essential to the capacity
      of jurors to satisfy the obligations that the law places
      on them.

11
     State v. Bostwick, 222 Neb. 631, 385 N.W.2d 906 (1986).
12
     Old Chief v. United States, 519 U.S. 172, 187, 117 S. Ct. 644, 136 L. Ed.
     2d 574 (1997).
                                    - 712 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                          STATE v. STUBBENDIECK
                             Cite as 302 Neb. 702
   The facts contained in the autopsy and Elieff’s testimony
undoubtedly relate to the charge of assisting suicide, with
which Stubbendieck was tried. Elieff’s testimony was relevant
to the extent that it provided the trier of fact with evidence that
the injuries sustained and drugs ingested were in furtherance
of a successful attempt at suicide and not the result of natu-
ral causes. The fact that Sullivan’s body was found to have a
lethal amount of morphine cannot be discounted, especially as
it relates to the testimonial evidence regarding Stubbendieck’s
attempts to acquire morphine in furtherance of Sullivan’s plan,
an affirmative act which constitutes aiding or abetting under
§ 28-307.
   [9,10] Most, if not all, items which one party to an action
offers in evidence are calculated to be prejudicial to the oppos-
ing party; therefore, it is only “unfair prejudice” with which
we are concerned.13 In the context of § 27-403, such prejudice
means a tendency to suggest a decision on an improper basis.14
   [11] Additionally, we have previously articulated that if an
exhibit is relevant and illustrates or makes clear some contro-
verted issue in a case, a defendant cannot negate an exhibit’s
probative value through a tactical decision to stipulate.15 The
State is allowed to present a coherent picture of the facts of
the crimes charged, and it may generally choose its evidence
in so doing.16
   On balance, we cannot say that the trial court abused its dis-
cretion in permitting Elieff’s testimony regarding the findings
of the post mortem examination of Sullivan.
               (b) Admission of Text Messages
  Stubbendieck makes a similar argument with regard
to the court’s admission of text messages shared between

13
     See State v. Yager, 236 Neb. 481, 461 N.W.2d 741 (1990).
14
     See Benzel v. Keller Indus., 253 Neb. 20, 567 N.W.2d 552 (1997).
15
     State v. Abdulkadir, 286 Neb. 417, 837 N.W.2d 510 (2013).
16
     Id.                                     - 713 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                           STATE v. STUBBENDIECK
                              Cite as 302 Neb. 702
Stubbendieck and Timbs. Stubbendieck objected to the admis-
sion of text messages in a motion in limine and through his
continuing objection at trial.
   Stubbendieck argues that the text messages of a roman-
tic nature between Timbs and him were used by the state to
“impugn his love for . . . Sullivan, and place him in an unfa-
vorable light to the jury.”17 While Stubbendieck admits that
some text messages directly relate and “could be perceived to
have importance,” he argues that text messages of a romantic
nature “bear no relevance to the proof of any fact that is of
consequence to the determination of whether . . . Stubbendieck
assisted in the suicide of . . . Sullivan.”18
   While Stubbendieck again fails to argue with specificity the
basis on which he challenges the court’s determination regard-
ing the admission of text messages and testimony involving
Timbs, he does make reference to issues of relevance and
unfair prejudice, rules which are discussed above.
   Stubbendieck fails to point to any specific text message that
demonstrates undue prejudice or is irrelevant standing alone.
The trial court exercised its discretion in determining that the
evidence was relevant and that its prejudicial effect did not
substantially outweigh its probative value.19 We review the
admissibility of evidence for an abuse of discretion.20
   In reviewing the district court’s decision, we conduct a
§ 27-403 analysis against the backdrop of our standard of
review for abuse of discretion. In conducting our review for
abuse of discretion, we first consider the court’s weighing of
the probative value of the proffered evidence, then in the sec-
ond step of the analysis, how the court weighed the probative
value against the unfairly prejudicial effects listed in § 27-403.

17
     Brief for appellant at 19.
18
     Id.
19
     State v. Bauldwin, supra note 5.
20
     State v. Henderson, supra note 4.
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                     STATE v. STUBBENDIECK
                        Cite as 302 Neb. 702
   With regard to the court’s admission of text messages
between Stubbendieck and Timbs, the court found that the
testimony and exhibits of “those communications are relevant
as to a possible motive and to [Stubbendieck’s] planning to
commit the crime, and may go to the weight and credibility
of other testimony by . . . Timbs.” The text message conver-
sations between Stubbendieck and Timbs give context to the
relationship that Stubbendieck and Timbs shared in which he
confided to Timbs details of Sullivan’s plan to die. Further, the
text messages corroborate Timbs’ testimony at trial.
   Of the several text message conversations that exist between
Stubbendieck and Timbs, one particularly illuminating mes-
sage reveals the level of trust Stubbendieck shared with Timbs,
as demonstrated by Stubbendieck’s revealing certain aspects
of the plan to end Sullivan’s life. This particular series of
text messages sent from Stubbendieck to Timbs on July 31,
2017, stated: “I will be honest and she flew in early. She will
be passed by sunrise [W]ednesday morning. Please bare [sic]
with me. I[’]m getting home from work and dinner with family
and jumping in shower. She is with my parents. I miss you.”
Approximately 7 minutes later, Stubbendieck sent a text mes-
sage to Timbs, which stated: “Please answer me. I can’t have
you mad. I enjoy our time so much and can’t wait to get back
to it.”
   At trial, Timbs testified to an oral conversation she shared
with Stubbendieck in which he asked her if she could obtain
heroin or morphine. Timbs further testified that following
Sullivan’s death, Stubbendieck and Timbs exchanged text mes-
sages in which he sought to speak to her on the telephone. In
her testimony regarding their oral conversation that followed,
Timbs stated:
       He was crying hysterically, telling me that they went out
       for a drive that day. She had gotten rid of all of her per-
       sonal belongings and cell phone, then they were walking
       in the woods. . . . He walked off . . . . When he came
       back he didn’t find her anywhere. When he found her he
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               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                          STATE v. STUBBENDIECK
                             Cite as 302 Neb. 702
      said there was blood everywhere. . . . Then he said he laid
      there and held her for a while.
In this conversation, largely corroborated by text messages
sent on August 1, 2017, between approximately 10:11 and
10:50 p.m., Stubbendieck confided in Timbs the execution of
Sullivan’s plan and his role in her death.
   In addition to the corroborative effect of the text messages
between Stubbendieck and Timbs, the messages signal a con-
nection between Stubbendieck and “Lake Acapulco,” the loca-
tion where Sullivan’s body was found. In those messages, this
lake is referenced on three separate occasions as a place known
to both individuals. Therefore, we cannot say that the court
abused its discretion in finding that the text conversations had
strong probative value.
   The next step in the analysis required that the district
court weigh the probative value against the unfairly prejudicial
effects listed in § 27-403. Unfair prejudice means an undue
tendency to suggest a decision based on an improper basis.21
It speaks to the capacity of some concededly relevant evidence
to lure the fact finder into declaring guilt on a ground different
from proof specific to the offense charged, commonly on an
emotional basis.22
   It cannot be said that the romantic undertones of
Stubbendieck’s text messages rise to the level of unfair prej-
udice in light of the discussion above. This conclusion is
grounded in the fact that the substantive information contained
within the text messages provides the finder of fact with
information that goes directly to Stubbendieck’s motive and
plan. For that same reason, it cannot be said that the text mes-
sages lack relevance. The entire text message history between
Stubbendieck and Timbs provides context to their relationship
as it related to Sullivan and to Stubbendieck’s actions sur-
rounding Sullivan’s death.

21
     State v. Tucker, 301 Neb. 856, 920 N.W.2d 680 (2018).
22
     Id.                                   - 716 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                          STATE v. STUBBENDIECK
                             Cite as 302 Neb. 702
   We cannot say that the district court abused its discretion
in admitting the text messages between Stubbendieck and
Timbs.
                   2. Sufficiency of Evidence
   Stubbendieck argues that the evidence adduced at trial was
insufficient to sustain a conviction for assisting suicide. It is
Stubbendieck’s contention that the evidence failed to dem-
onstrate active participation in the planning or execution of
Sullivan’s suicide.
                     (a) Aiding and Abetting
   In Nebraska, aiding and abetting under Neb. Rev. Stat.
§ 28-206 (Reissue 2016) is not a separate crime. Rather, it
is another theory for holding one liable for the underlying
crime.23 Suicide or attempted suicide has not been criminalized
in Nebraska, thus one cannot be held criminally liable for aid-
ing and abetting suicide, pursuant to § 28-206. However, the
Nebraska Legislature established the separate crime of assist-
ing suicide under § 28-307. The statute relies largely on the
term “aids and abets,” which the Legislature left undefined in
§§ 28-206 and 28-307.
   [12,13] Specifically, the language of § 28-307 states: “A
person commits assisting suicide when, with intent to assist
another person in committing suicide, he aids and abets him in
committing or attempting to commit suicide.” While §§ 28-206
and 28-307 fail to define the term “aiding and abetting,” our
longstanding jurisprudence indicates that aiding and abetting
requires some participation in a criminal act which must be
evidenced by word, act, or deed, and mere encouragement or
assistance is sufficient to make one an aider or abettor.24 No
particular acts are necessary, however, nor is it necessary that
the defendant take physical part in the commission of the crime

23
     State v. Dixon, 282 Neb. 274, 802 N.W.2d 866 (2011).
24
     State v. Leonor, 263 Neb. 86, 638 N.W.2d 798 (2002).
                             - 717 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                     STATE v. STUBBENDIECK
                        Cite as 302 Neb. 702
or that there was an express agreement to commit the crime.25
Yet, evidence of mere presence, acquiescence, or silence is not
enough to sustain the State’s burden of proving guilt under an
aiding and abetting theory.26
   Here, Stubbendieck argues that he merely acquiesced to
Sullivan’s planned suicide. Stubbendieck contends that his pur-
chase of an airline ticket for Sullivan to travel to Nebraska as
contemplated in her plan, his attempts to procure morphine on
her behalf, and his mere presence as she engaged in the life-
taking act were insufficient to sustain his conviction.
   However, viewed in the light most favorable to the State,
Stubbendieck did more than simply acquiesce to Sullivan’s acts.
As demonstrated by the evidence contained in text messages
between Stubbendieck and Sullivan, Stubbendieck encouraged
Sullivan to come to Nebraska in order to end her life. In one
of Sullivan’s many text message conversations to Stubbendieck
regarding Sullivan’s taking her life, she wrote that “[t]his[]is
the final end baby.” Stubbendieck replied, “When you get here.
We both need this. I promise it will be what you want and what
I need. Please.”
   Further evidence in the form of witness testimony demon-
strated that Stubbendieck actively sought out and ostensibly
obtained liquid morphine in order to “put [Sullivan] to sleep.”
Even if these acts alone were not enough, Stubbendieck, by his
own admission, intentionally and voluntarily engaged in the
act of attempting to asphyxiate Sullivan, first by covering her
nose and mouth with his hand to prevent her from breathing,
and later using a pair of boxer shorts to aid him in covering her
nose and mouth in order to bring her life to an end.
   As stated above, aiding and abetting requires some participa-
tion in a criminal act, which must be evidenced by word, act, or
deed. Further, mere encouragement or assistance is sufficient.
While we have said that no particular acts are necessary, nor is

25
     Id.
26
     Id.
                                   - 718 -
              Nebraska Supreme Court A dvance Sheets
                      302 Nebraska R eports
                          STATE v. STUBBENDIECK
                             Cite as 302 Neb. 702
it necessary that the defendant take physical part in the act, the
record, including Stubbendieck’s own admissions, demonstrate
that viewed in a light most favorable to the State, Stubbendieck
took more than a passive role in bringing about Sullivan’s ulti-
mate demise, as evidenced by his above-referenced acts.
                      (b) Elieff’s Testimony
   Next, Stubbendieck argues that the inability of Elieff, the
pathologist, to render an opinion as to the cause or manner of
Sullivan’s death required the court to make a “quantum leap”
in the evidence to reach the conclusion that Stubbendieck
assisted in a suicide.27
   While the condition of Sullivan’s body did not enable Elieff
to determine the probable cause or manner of death, Elieff
concluded that Sullivan, with the exception of the cuts to both
of her wrists, had not sustained a traumatic injury such as a
gunshot wound or penetrating injury. However, the decompo-
sition of the body prevented Elieff from determining whether
Sullivan had died from contributing factors such as asphyxia-
tion, hypothermia, or drug overdose.
   [14,15] To sustain a conviction for a crime, the corpus
delicti must be proved beyond a reasonable doubt.28 The corpus
delicti is the body or substance of a crime, the fact that a crime
has been committed without regard to the identity of the person
committing it.29 The corpus delicti may be proved by circum-
stantial evidence.30 Circumstantial evidence is evidence which,
without going directly to prove the existence of a fact, gives
rise to a logical inference that such fact exists.31
   [16] An extrajudicial admission or a voluntary confession
is, standing alone, insufficient to prove that a crime has been

27
     Brief for appellant at 16.
28
     Reyes v. State, 151 Neb. 636, 38 N.W.2d 539 (1949).
29
     Id.30
     State v. Payne, 205 Neb. 522, 289 N.W.2d 173 (1980).
31
     State v. Blackman, 254 Neb. 941, 580 N.W.2d 546 (1998).
                                   - 719 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                          STATE v. STUBBENDIECK
                             Cite as 302 Neb. 702
committed, but either or both are competent evidence of the
fact and may, with corroborative evidence of facts and circum-
stances, establish the corpus delicti and guilty participation of
the defendant.32
   In this case, Stubbendieck had numerous conversations with
Sullivan about her plan to end her life. In those conversations,
the two discussed Sullivan’s taking her life and dying along the
water’s edge and in Stubbendieck’s arms. The two forged and
carried out a plan to transport Sullivan to Nebraska in order
to conclude the contemplated act. In addition to his conversa-
tions with Sullivan, Stubbendieck sought to procure morphine
from Timbs, and later told his coworkers that he had obtained
morphine. Although Stubbendieck contends that the plan had
changed and that morphine was no longer a part of the scheme,
Sullivan’s autopsy revealed she had morphine in her liver
meas­uring 876 nanograms per gram of tissue, an amount that
Elieff testified was known to be within the lethal spectrum.
Further, as demonstrated in the record, Stubbendieck’s insist­
ence that Sullivan come to Nebraska to carry out her suicidal
intentions because “[w]e both need this” cannot be character-
ized as anything but encouragement.
   Having viewed the evidence in the light most favorable to
the prosecution, we hold that any rational trier of fact could
have found, beyond a reasonable doubt, that Stubbendieck did
aid and abet Sullivan in committing suicide.
   Stubbendieck’s assignment of error is without merit.
                     VI. CONCLUSION
  We conclude that there was sufficient evidence to support
Stubbendieck’s conviction. The district court did not err in
admitting the testimonial evidence and text messages.
                                                  A ffirmed.

32
     Olney v. State, 169 Neb. 717, 100 N.W.2d 838 (1960).
